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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

TYSHEE FEATHERSTONE,

        Plaintiff,

        v.

CITY OF CHICAGO, and CHICAGO POLICE
SERGEANT, JAMES SAJDAK, #1058,



        Defendants.                                             JURY TRIAL DEMANDED

                                           COMPLAINT

        NOW COMES Plaintiff TYSHEE FEATHERSTONE, by and through her attorneys

Christopher Smith Trial Group, LLC, and complaining of Defendants CITY OF CHICAGO and

CHICAGO POLICE SERGEANT, JAMES SAJDAK, #1058 as follows:

                                         INTRODUCTION

        1.      This action is brought pursuant to 42 U.S.C. Section 1983 to redress the

deprivation under color of law of Plaintiff’s rights as secured by the United States Constitution.

                                    JURISDICTION & VENUE

        2.      This Court has jurisdiction of the action pursuant to 28 U.S.C. Sections 1331 and

1367, and venue is proper under 28 U.S.C. Section 1391(b). On information and belief, all

parties reside in this judicial district, and the events giving rise to the claims asserted herein

occurred within the district.

                                           THE PARTIES

        3.      Plaintiff, TYSHEE FEATHERSTONE, is a resident of the City of Chicago in the

County of Cook, Illinois.
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       4.      Defendant James Sajdak was at the time of this occurrence a City of Chicago

Police Officer. He engaged in the conduct complained of while in the scope of his employment

and under color of law. He is sued in his individual capacity.

       5.      Defendant City of Chicago (“City”) is a municipal corporation under the laws of

the State of Illinois that operates the City of Chicago Police Department, and, at all times

relevant to the events complained of herein, was the employer of Defendant Officers. The City is

sued pursuant to the doctrine of respondeat superior on the pendant State law claims.



                                     BACKGROUND FACTS

       6.      Plaintiff is a transgender female. Transgender is when the state of one’s gender

identity does not match one’s assigned sex. Therefore, while Plaintiff’s assigned sex at birth was

male, Plaintiff identifies as a female.

       7.      Tyshee was in the area of Fifth and Cicero on the evening of March 5, 2019.

       8.      A Chicago Police Officer wearing a white uniform approached her in his marked

SUV police vehicle.

       9.      The Defendant Officer now known as Sergeant Sajdak asked her “What was she

doing here?”

       10.     The Sergeant told her told her that she had no choice except to perform a sex act

on him, “because that’s what you do or you will go to jail.”

       11.     The Sergeant ordered Tyshee into the front passenger seat of his police vehicle.

       12.     Once Tyshee was in the police SUV the Sergeant drove to a secluded area near

the intersection of Kostner and Lexington overlooking the expressway.

       13.     Sajdak said he had not seen Tyshee out there (where he coerced Tyshee into his



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police vehicle) before. He ordered Tyshee to give him her phone number.

        14.       Sajdak told Tyshee that he comes out there frequently and that Tyshee would

become one of his regulars.

        15.       Sajdak closed the cover of the police computer between the driver seat and

passenger seat.

        16.       The Sergeant then exposed his penis and demanded that Tyshee perform a sexual

act.

        17.       Tyshee complied out of fear.

        18.       Sajdak left Tyshee in an alley.

        19.       Tyshee spit what she believed included his semen into a bottle.

        20.       A friend took her Rush Hospital shortly after Sajdak sexually assaulted her.

        21.       Tyshee reported what happened to her at the hospital and gave staff at the hospital

the bottle.

        22.       Defendant Sajdak was relieved of official police duty soon after this incident.

        23.       Defendant Sajdak is a white male who is approximately 61 years old.


                            Defendant Sajdak’s History of Misconduct

        24.       Defendant Sajdak has an extensive history of misconduct as a Chicago Police

Officer. The complaints against him are known as complaint register files or “CRs”.

        25.       As of 2019, Defendant Sajdak had at least 44 CRs.

        26.       On information and belief, the CRs filed against Defendant Sajdak were

investigated by various entities under the control of the City of Chicago: The Office of

Professional Standards (“OPS”), the Independent Police Review Authority (“IPRA”), the

Civilian Office of Police Accountability (“COPA”), the Bureau of Internal Affairs (“BIA”), and

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the Internal Affairs Department (“IAD”).

       27.     Defendant City knew or was recklessly blind to Defendant Sajdak’s pattern of

misconduct.

       28.     In 1997, Defendant City sustained a complaint involving criminal misconduct

against Defendant Sajdak in connection with the sale and/or possession of illegal drugs.

       29.     Defendant Sajdak was only suspended for 30 days as a result of this sustained CR

and remained a Chicago police officer.

       30.     The 30-day suspension was a lenient punishment even in Defendant City’s broken

police disciplinary system.

       31.     Sajdak was not referred for criminal prosecution.

       32.     Between 1997 and 2012, Sajdak amassed 34 more citizen misconduct complaints.

       33.     Despite his record as a threat to civilians and as a liability to the department, in

2012, Defendant City promoted Defendant Sajdak to the coveted rank of sergeant.

       34.     In 2013, Defendant Sajdak was named as a defendant in a civil rights lawsuit;

Hondras v. City of Chicago, et al., 13 CV 1846.

       35.     The Hondras lawsuit arose out of an incident on July 14, 2011, in which a young

woman named Tiffany Hondras was taken to the 11th District police station after being pulled over

in a car driven by her boyfriend.

       36.     At the police station, Defendant Sajdak grabbed Hondras, handcuffed her, and took

her into a secure area. To punish Hondras’s boyfriend for challenging him, Defendant Sajdak

ordered that Hondras be stripped searched.




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        37.     Hondras was subjected to a full strip search in the bathroom of the police station;

she was told to pull down her pants and underwear, to squat and cough multiple times, and to pull

apart her buttocks and genitalia.

        38.     Nothing illegal was ever found on Hondras’s person and she was released without

charges.

        39.     In September 2015, the City of Chicago settled the Hondras lawsuit for

$220,000.00

        40.     Defendant Sajdak was not re-trained or disciplined as a result of the Hondras

lawsuit or the incident that gave rise to it.

        41.     On information and belief, Defendant Sajdak has also physically and/or sexually

abused and/or harassed other individuals.

        42.     Prior to March of 2019, Defendant City knew or should have known that Defendant

Sajdak had demonstrated an obvious pattern of misconduct.

        43.     In 2019, Defendant Sajdak was named as a defendant in a civil rights lawsuit

entitled Perry v. City of Chicago, et al., 13 CV 1846.

        44.     The Perry lawsuit arose out of an incident in September of 2016, in which a

uniformed Sajdak stopped Geneva Harris’s car.

        45.     Defendant Sajdak pulled up next to her vehicle and ordered her to follow him into

an abandoned parking lot at or near the intersection of Homan and Roosevelt.

        46.     Defendant Sajdak then masturbated in front of Ms. Harris between their two parked

cars, forcing her to watch.

        47.     When he was finished, Defendant Sajdak released Harris without issuing her any

tickets and without charging her with any crime.



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       48.     After this incident, on multiple occasions between September 2016 and July 3,

2019, Defendant Sajdak, while driving his police vehicle, harassed Ms. Harris by following her

while she was driving.

       49.     Ms. Harris reported Defendant Sajdak’s misconduct to a Chicago police detective.


                               The City’s Deliberate Indifference


       50.     At the time of the incident, the actions of Defendant Sajdak, as alleged above,

occurred pursuant to one or more interrelated de facto policies, practices and/or customs of the

City of Chicago and/or the Chicago Police Department.

       51.     At the time of the incident, the Defendant City of Chicago and its police department

had interrelated de facto policies, practices, and customs which included, inter alia, the failure to

properly, discipline, monitor, investigate, and control its police officers regarding their

interactions with and treatment of women, transgender and gender-nonconforming people.

       52.     At the time of the incident, the Defendant City of Chicago and its police department

had interrelated de facto policies, practices, and customs which included, inter alia, the failure to

properly, discipline, monitor, investigate, and control its police officers with regard to officers

who are accused of sexual assault.

       53.     The de facto policies, practices and customs of failing to monitor, discipline, and

control Chicago police officers allow such officers to treat women, transgender and gender non-

conforming people in abusive, hostile, threatening, and discriminatory ways in violation of the

U.S. Constitution and Illinois law and without fear of repercussion.




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       54.     The de facto policies, practices and customs of failing to properly discipline,

investigate, and control sexual assault committed by police officers, is a moving force involved in

acts of sexual assault committed under color of law, in violation of the U.S. constitution.

       55.     Specifically, police officers accused of sexual harassment or assault can be

confident that the City will not adequately investigate those accusations in earnest and will refuse

to recommend appropriate discipline even where the officer has engaged in sexual misconduct

constituting an unreasonable seizure in violation of the Fourth Amendment.

       56.     More broadly the Chicago Police department fails to monitor, supervise,

investigate, and properly discipline Officers such as Defendant Sajdak, who have extensive

histories of serious misconduct and complaint histories. Much to the contrary, such officers, like

Defendant Sajdak, are routinely promoted to supervisory positions themselves. These failures

constitute the de facto policy of the City of Chicago and the Chicago Police Department.

       57.     The City has encouraged a de facto practice among its officers known as a code of

silence. Officer and supervisors who are aware of other officers who commit misconduct, such as

Defendant Sajdak, never speak up or report the problem officer.

       58.     The aforementioned policies, practices and/or customs of failing to discipline,

monitor, investigate, and control Chicago police officers proximately caused injury to the Plaintiff

in this case, inter alia, because Defendant had good reason to believe that his misconduct would

not be revealed or reported by fellow officers or their supervisors, that their denials would go

unchallenged by these supervisors and fellow officers, and that they were effectively immune from

disciplinary action, thereby protecting them from the consequences of their unconstitutional and

illegal conduct.




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       59.     But for the belief that he would be protected by fellow officers, supervisors, the

Chicago Police Department and/or the City of Chicago, from serious career or even criminal

consequences as a result of his misconduct, Defendant Sajdak would not have engaged in the

conduct that resulted in the injuries to Plaintiff.

       60.     Said interrelated policies, practices and customs, as set forth above, both

individually and together, were maintained and implemented with deliberate indifference, and

encouraged Defendant Sajdak to commit the aforesaid acts against Plaintiff and therefore acted

as the moving force and were, separately and together, direct and proximate causes of said

constitutional violations, and injuries to Plaintiff.

                                 COUNT I – 42 U.S.C. § 1983
                           Fourth Amendment: Unreasonable Seizure

       61.     Each Paragraph of this Complaint is incorporated as if restated fully herein.

       62.     As described in the preceding paragraphs, Defendant Sajdak violated Plaintiff's

Fourth Amendment right to be free from unreasonable search and seizure.

       63.     The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with willful indifference to Plaintiff's constitutional rights.

       64.     The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others.

       65.     The misconduct described in this Count was undertaken by Defendant Sajdak

within the scope of his employment and under color of law such that his employer, City of

Chicago, is liable for his actions.

       66.     The misconduct described in this Count was undertaken pursuant to the policy

and practice of the City of Chicago Police Department in the manner described more fully above.




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       67.     As a result of the misconduct described in this Count, Plaintiff has suffered

damages, including but not limited to emotional distress and anguish.

                                  COUNT II – 42 U.S.C. § 1983
                                      Equal Protection

       68.     Each Paragraph of this Complaint is incorporated as if fully restated herein.

       69.     As described more fully above, Defendant Sajdak denied Plaintiff equal

protection of the law in violation of her constitutional rights.

       70.     The misconduct described in this count was motivated by gender animus and

constituted purposeful discrimination.

       71.     The misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of others.

       72.     The misconduct described in this Count was undertaken by Defendant Sajdak

within the scope of his employment and under color of law such that his employer, City of

Chicago, is liable for his actions.

       73.     The misconduct described in this Count was undertaken pursuant to the policy

and practice of the City of Chicago Police Department in the manner described more fully above.

       74.     As a result of the misconduct described in this Count, Plaintiff has suffered

damages, including but not limited to emotional distress and anguish.

                                 COUNT III – 740 ILCS 82 et seq.
                                  Illinois Gender Violence Act

       75.     Each Paragraph of this Complaint is fully incorporated as if fully restated herein.

       76.     As described more fully above, the conduct of Defendant Sajdak toward Plaintiff

constituted a physical intrusion of a sexual nature under coercive conditions. Defendant’s actions

constituted unjustified and offensive physical contact. Defendant’s conduct proximately caused


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Plaintiff’s injuries.

        77.     The misconduct described in this Count was undertaken with malice, was willful

and wanton, was recklessly indifferent to the rights of others, and was objectively unreasonable.

        78.     The misconduct described in this Count was undertaken by Defendant within the

scope of his employment and under color of law such that his employer, City of Chicago, is

liable for his actions.

        79.     As a result of the misconduct described in this Count, Plaintiff has suffered

damages, including but not limited to emotional distress and anguish.

                                 COUNT IV – State Law Claim
                                  Sexual Assault and Battery

        80.     Each Paragraph of this Complaint is incorporated as if fully restated herein.

        81.     As described more fully above, the conduct of the Defendant Steward constituted

unjustified and offensive physical contact. Defendant’s conduct proximately caused Plaintiff’s

injuries.

        82.     The misconduct described in this Count was undertaken with malice, was willful

and wanton, recklessly indifferent to the rights of others, and objectively unreasonable.

        83.     The misconduct described in this Count was undertaken by Defendant within the

scope of his employment and under color of law such that his employer, the City of Chicago, is

liable for his actions.

        84.     As a result of the misconduct described in this Count, Plaintiff has suffered

damages, including but not limited to emotional distress and anguish.

                               COUNT V – STATE LAW CLAIM
                           Intentional Infliction of Emotional Distress

        85.     Each Paragraph of this Complaint is incorporated as if fully restated herein



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          86.   As described more fully above, the misconduct of Defendant Sajdak towards

Plaintiff was extreme and outrageous.

          87.   Given the nature of the misconduct, Defendant Sajdak committed the misconduct

with knowledge that his actions were likely to cause severe emotional distress towards Plaintiff.

          88.   As a direct and proximate cause of Defendant Sajdak’s misconduct, Plaintiff has

suffered severe emotional distress, including emotional anguish, humiliation, fear, and anxiety.

                              COUNT VI – STATE LAW CLAIM
                                   Respondeat Superior

          89.   Each Paragraph of this Complaint is incorporated as if fully restated herein.

          90.   In committing the acts alleged in the preceding paragraphs, Defendant Sajdak was

a member and agent of the City of Chicago Police Department acting at all relevant times within

the scope of his employment.

          91.   Defendant City of Chicago is liable as principal for all torts committed by its

agents.

                              COUNT VII – STATE LAW CLAIM
                                     Indemnification

          92.   Each of the foregoing paragraphs is incorporated as if fully restated herein.

          93.   Illinois law requires public entities to pay any tort judgment for compensatory

damages for which employees are liable within the scope of their employment activities.

          94.   Defendant Sajdak is or was an employee of the City of Chicago Police

Department, who acted within the scope of his employment in committing the misconduct

described herein.

          WHEREFORE, Plaintiff, TYSHEE FEATHERSTONE, respectfully requests that this

Court enter judgment in her favor and against Defendants CITY OF CHICAGO and



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SERGEANT SAJDAK, awarding compensatory damages and attorneys’ fees, as well as punitive

damages against Defendant in his individual capacity, as well as any other relief this Court

deems just and appropriate.

                                        JURY DEMAND

       Plaintiff, TYSHEE FEATHERSTONE, hereby demands a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable.

                                                             RESPECTFULLY SUBMITTED,

                                                                  /s/ Christopher R. Smith
                                                             One of the Attorneys for Plaintiff




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